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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION




  DEFENSE DISTRIBUTED and SECOND                   )
  AMENDMENT FOUNDATION, INC.,                      )
                                                   )
                Plaintiffs,                        )
                                                   )
                        vs.                        )
                                                   )
  GURBIR GREWAL, in his official capacity as       )
  the State of New Jersey’s Attorney General, et   )
  al.,                                             )
                                                   )   Case No. 1:18-CV-637
                Defendants.




 DEFENDANT GURBIR S. GREWAL’S RESPONSE TO PLAINTIFFS’ PRELIMINARY
                  INJUNCTION HEARING QUESTION




                                                                              4812-3935-4499
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       Defendant Gurbir S. Grewal, the Attorney General of the State of New Jersey (the

“NJAG”), respectfully submits this response to the question posited by Plaintiffs’ counsel at the

close of the Preliminary Injunction hearing that occurred on January 15, 2019. Specifically,

Plaintiffs’ counsel asked for a commitment by the NJAG or its counsel whether—in light of the

federal law at issue in the Washington matter—the New Jersey statute prohibited the mailing of

files to residents in New Jersey. Washington v. U.S. Dep’t of State, et al., 318 F. Supp. 3d 1247,

1264 (W.D. Wash. 2018).

       Defendant NJAG represents that if files that fall under the definition of “digital firearms

information” in Section 3(l)(2) were mailed to a New Jersey resident, that conduct could violate

the New Jersey statute. See N.J. Stat. Ann. § 2C:39-9 3(l)(2). Based on Defense Distributed’s

representations, it is not currently mailing files to New Jersey residents. The NJAG cannot

determine whether Defense Distributed’s hypothetical mailings would violate the statute without

more information regarding the material being mailed, the recipient, or other questions that may

arise. (Second Mot. TRO, Dkt. 66, at 6; Heindorff Decl., Dkt. 65-26, at 44).




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 DATED: January 18, 2019                Respectfully submitted,

                                        Pillsbury Winthrop Shaw Pittman LLP
                                        BY: /s/ Casey Low
                                             Casey Low
                                             Texas Bar No. 24041363
                                             401 Congress Ave., Suite 1700
                                             Austin, Texas 78701-4061
                                             Phone: (512) 580-9600
                                             Fax:    (512) 580-9601
                                             casey.low@pillsburylaw.com

                                            Kenneth W. Taber (admitted pro hac vice)
                                            Benjamin D. Tievsky (admitted pro hac
                                            vice)
                                            Pillsbury Winthrop Shaw Pittman, LLP
                                            1540 Broadway
                                            New York, NY 10036
                                            212-858-1813
                                            Fax: 212-858-1500
                                            kenneth.taber@pillsburylaw.com
                                            benjamin.tievsky@pillsburylaw.com

                                            Attorneys for Defendant GURBIR S.
                                            GREWAL


 OF COUNSEL:

 Lorraine Karen Rak
 Melissa Medoway
 Jeremy Feigenbaum
 New Jersey Attorney General’s Office
 124 Halsey Street
 5th Floor
 Newark, NJ 07102




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                                CERTIFICATE OF SERVICE


       I hereby certify that on January 18, 2019, I electronically filed the foregoing using the

CM/ECF system which will send notification of such filing to all counsel of record.

                                             /s/ Casey Low
                                             Casey Low




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